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                             UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF LOUISIANA



    JOHN FORD
   Plaintiff
   v.                                                              16-742-BAJ-RLB
                                                                   Civil Action No.
    DERAY MCKESSON
   Defendant

                                CERTIFICATE OF INTERESTED PERSONS


   Pursuant to Local Civil Rule 7.1,
    Defendant, DeRay McKesson


    provides the following information:
            A complete list of all persons, associations of persons, firms, partnerships, corporations,
    guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are
    financially interested in the outcome of the case:
    *Please separate names with a comma and do not add address information. Only text visible
    within box will print.

    1. DeRay McKesson,
    2. William P. Gibbens, Esq., Schonekas, Evans, McGoey & McEachin, LLC,
    3. Ian Atkinson, Esq., Schonekas, Evans, McGoey & McEachin, LLC




                                                                  /s/ William P. Gibbens, LA Bar # 27225
                                                                   Attorney Name and Bar Number

NOTE: To electronically file this document, you will find the event in our Case Management (CM/ECF) system, under Civil =>
Notices => Certificate of Interested Persons.
